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       Forwarded message
From: "Kumar Nagdev" <knagdev@eteaminc.com>
Date: Jul 31, 2013 11:51 AM
Subject: JOB OPPORTUNITY - FIELD TECHNICIAN - ALEXANDRIA. VA.
To: <veronicamkanuki@gmail.com>
Cc:



Qr^etings.

My name is Kumar and Iam reeruiter at eTeam ine. ©Team Inc is a global contingency staffing firiTi
servicing fortune 1000 clients globally.V\te have an excellent job opportunity with one of our client.


Job Title
Location Alexandria,VA
Duration

Job Requirements;                                                                                        EXHIBT
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Great customer satisfaction and comnfiunlcatlon skills.

A* Certification- Required

ixperience with replaeing haretware components in desktop computers In a professional
environment. Hardware components include mothertx>ard. processor, memory, etc.
Experience vwth replacing hardware components in laptop computers in a professional environment.
Hardware components include motherboard, processor. LCD screens, etc. (Preferred but not
required)
Typically will drive 200-500 Miles a week. Should be willing to drive 750 miles a week.
Work hours are Mon Fri 9:00 AM to 5:30 PM with a 30 minute lunch. No overtime and candidates
must report only the hours they actually work.

Duration:=



If ydu sre quali^ed. available,                              s change, or knowof a         who mighthave
the required qualifications and interest please call me ASAPat (732) 248-1900 Ext.525 even ifwe have
spoken recently about a different position. If you do respond via e-mail please include a daytime phone
number so Ican reach you.


Also, please take a few minutes to answer some of the questions below as they will help me qualify your
candidature



Full Ugal Name as if)driving Ucense/ Passporii
Preferred email ID:
Day/ Evening phone numbers:
Current Uoeation;
Work Authorization:
Earliest availability for Phone/ On-Slte interview:
l4ouriy Rate:
Earliest p^slble start date;
Two Professional References:

Also, be aware that eur client conducts an eKiensive baekground checks on candidates who are extended
offers of employment.


Sincerely yours,

Kumar Nagt^ev

eTeam Inc
knagdev@ete8mine.com
(732)248-1900 Ext.525
1001 Durham Avenue Suite 201
South Plalnfield.NJ. 07080

Note: Please aliow me to reiterate that I chose to contact you either because your resume had been posted
to one of the internet job sites to which we subscribe, or you had previously submitted your resume to
eTeam Inc. I assumed that you are either looking for a new employment opportunity, or you are interested
in investigating the current job mari<et.

If you are not euffently seeking employment ©r ifyou would prefer Ieontaet you at same later date, please
indicate your date of availability ao that I may honor your request Inany event Irespectfully recommend
you continueto availyourselfto the employment optionsand job market information we provide with our e-
mail notices.
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           Thanks again.Kumar




           If yeu would like to unsubscribe, please elieK
